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                       UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF CALIFORNIA(SAN JOSE)


Larry Golden,Pro Se Plaintiff
740 Woodruff Rd.,#1102                                      FILED
Greenville, SC 29607                                            JAM 12 7m
(H)8642885605                                              CLERK, U.S. DISTRICT COURT
                                                         northern district of CALIFORNIA
(M)8649927104
Email: atpg-tech@charter.net




                                          CASE NO: 5:22-cv-03828-NC
          LARRY GOLDEN


            Pro Se Plaintiff,             (JURY TRIAL DEMANDED)

                   V.                     (Sherman Act)(The Clayton Act)
                                          (Unjust Enrichment)(Induced and
      INTEL CORPORATION.                  Contributory Infringement).

               Defendant.




              PLAINTIFF'S NOTICE OF RELATED FILINGS IN
                                THE SUPREME COURT




                                                      January 10, 2024
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          Vertical stare decisis binds lower courts to follow
     strictly tbe decisions of higher courts within the same
     jurisdiction (e.g., the Northern District of California
      Court must follow the decisions ofthe U.S. Court ofAp
      peals for the Federal Circuit). The Supreme Court de
      fines vertical stare decisis as the doctrine, "a lower
      court must strictly follow the decision(s) handed down
      by a higher court within the same jurisdiction".
          A court engages in vertical stare decisis when it
      applies precedent from a higher court. For example,if
      the Northern District of California Court in Golden v.
      Qualcomm,Inc. adhered to a previous ruling from the
      United States Court ofAppeals for the Federal Circuit,
      in LiCbrry Golden v. Google LLC,Case No.22-1267,that
      would be vertical stare decisis.

          Also, under the 35 U.S.C.§ 271(a)clause for direct
      infringement: "whoever without authority makes,
      uses, offers to sell, or sells any patented invention,
      within the United States ... infringes the patent." It
      was determined by the Federal Trade Commission
      (FTC)and the N.D. Cal. Court in 2019 that Qualcomm
      is using Petitioner's patented smartphone invention
      to collect a 5% running royalty on each handset
      [smartphone] sold, without patent, authorization, or
      license to do so. Clearly, Qualcomm has in the past and
      continues to do so today, use Petitioner's patented in
      vention to collects tens of billions of dollars annually.
      Which means Qualcomm is liable for "unjustly enrich
      ing" itself.
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